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                                                                            FILED
                            NOT FOR PUBLICATION                              AUG 20 2008

                                                                        MOLLY C. DWYER, CLERK
                     UNITED STATES COURT OF APPEALS                       U .S. C O U R T OF APPE ALS




                            FOR THE NINTH CIRCUIT



MICHAEL ANTHONY,                                 No. 06-15316

              Petitioner - Appellant,            D.C. No. CV-02-00081-FCD/JFM

  v.
                                                 MEMORANDUM *
GAIL LEWIS,

              Respondent - Appellee.



                    Appeal from the United States District Court
                        for the Eastern District of California
                   Frank C. Damrell, Jr., District Judge, Presiding

                        Argued and Submitted July 16, 2008
                            San Francisco, California

Before: KOZINSKI, Chief Judge, FARRIS, Circuit Judge, and PANNER ,**
District Judge.

       Michael Anthony, a California state prisoner, appeals the district court’s

denial of his habeas petition. We AFFIRM.

         *
             This disposition is not appropriate for publication and is not precedent
except as provided by 9th Cir. R. 36-3.
        **
             The Honorable Owen M. Panner, United States District Judge, District
of Oregon, sitting by designation.
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                                           I.

      Anthony contends his trial counsel was ineffective because his attorney

incorrectly stated he would be eligible for parole after serving 20 years of a 25-

years-to-life sentence. In fact, Anthony will not be eligible for parole until he has

served 25 years. See In re Cervera, 16 P.3d 176, 180-82 (Cal. 2001). Counsel's

alleged statement did not, however, fall outside "the range of competence

demanded of attorneys in criminal cases." United States v. Signori, 844 F.2d 635,

638 (9th Cir. 1988). Even if the alleged advice was deficient, Anthony has not

shown he would have insisted on going to trial. See Hill v. Lockart, 474 U.S. 52,

59 (1985). Evidence of Anthony's guilt was overwhelming, and if Anthony had

been convicted, he would not have received the ten-year reduction included in the

plea agreement. For the same reason, Anthony has not shown that his counsel was

ineffective for advising him to enter a plea agreement that violated state law.

      Anthony also contends his attorney was ineffective for not requesting a

competency hearing. See Douglas v. Woodford, 316 F.3d 1079, 1085 (9th Cir.

2003) (counsel has duty to investigate defendant's mental state "if there is evidence

to suggest that the defendant is impaired"). Anthony failed, however, to provide

any evidence that his bipolar disorder rendered him incompetent to stand trial.




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                                         II.

      Anthony argues his plea agreement violated his due process rights. Under

the plea agreement, Anthony avoided two sentence enhancements for his prior

felony convictions. Anthony contends the plea agreement violated California law,

which provides that "[p]rior felony convictions shall not be used in plea

bargaining," and that the prosecution "shall not enter into any agreement to strike

or seek the dismissal of any prior felony conviction allegation." Cal. Penal Code §

667(g).

      Even assuming the plea agreement violated California law, Anthony's due

process rights were not violated. Anthony actually benefitted by receiving a lower

sentence than he would otherwise have received.

                                         III.

      Anthony contends his sentence violates the plea agreements from his two

prior felony convictions because he was not warned that the convictions could be

used to enhance a sentence for a future conviction. Because there is no evidence

that the prior plea agreements prohibited using the convictions to enhance later

sentences, Anthony cannot show that his current sentence breached the prior

agreements. See Ricketts v. Adamson, 483 U.S. 1, 5 n.3 (1987).




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                                         IV.

      We do not reach the merits of Anthony's uncertified claims. Anthony has

not made a "substantial showing of the denial of a constitutional right" that would

allow us to expand the Certificate of Appealability. See Doe v. Woodford, 508

F.3d 563, 567 (9th Cir. 2007) (internal quotation omitted).

      AFFIRMED.




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